                                                          401 Park
          Case 1:19-cv-05025-JMF Document 72 Filed 11/09/20   Page Avenue
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November 6, 2020

By ECF

Hon. Jesse M. Furman
United States District Court
Southern District of New York
40 Centre St, Rm 2202
New York, NY 10007

        Re:     Naik, et al. v. Swagat Restaurant, Inc. d/b/a Sapphire Indian Cuisine, et al.
                No. 19-cv-5025 (JMF)

Dear Judge Furman:

       As you know, we represent Plaintiffs and the proposed class in the above-referenced
matter. I write to request a two-week extension of the deadline to submit Plaintiffs’ motion for
preliminary approval of a class action settlement, from November 9, 2020 to November 23,
2020, as the parties are in the process of finalizing the preliminary approval papers. This is the
second request for an extension, and Defendants’ counsel has consented. There is currently no
appearance scheduled before the Court. We thank the Court for its attention to this matter.

        Respectfully submitted,

        /s/ Finn Dusenbery
        Finn Dusenbery
                                        The application is GRANTED. The parties are warned, however,
                                        that future extensions are unlikely to be granted. The Clerk of
                                        Court is directed to terminate ECF No. 71. SO ORDERED.




                                                                                            November 9, 2020
